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               AFFIDAVIT OF SPECIAL AGENT LISA A. CRANDALL
                   IN SUPPORT OF A CRIMINAL COMPLAINT

     I, Lisa A. Crandall, being first duly sworn, hereby depose and state as follows:

                    INTRODUCTION AND AGENT BACKGROUND

1.   I have been employed as a Special Agent of the Federal Bureau of Investigation (FBI) since

     June 2010 and I am currently assigned to the Boston Division, Lakeville Resident Agency.

     While employed by the FBI, I have investigated federal criminal violations related to,

     among other things, the online sexual exploitation of children. I have received training in

     the area of child pornography and child exploitation, and have had the opportunity to

     observe and review numerous examples of child pornography (as defined in 18 U.S.C. §

     2256) in different forms of media, including digital media.

2.   This affidavit is submitted in support of a criminal complaint charging Derek Sheehan

     (“SHEEHAN”), DOB xx/xx/1970, of Norwell, MA, with sexual exploitation of children,

     in violation of 18 U.S.C. §§ 2251(a) and (e).

3.   The statements contained in this affidavit are based upon my personal observations,

     training and experience, and review of relevant records related to this investigation, as well

     as information provided to me by other local and state law enforcement officers involved

     in this investigation.

4.   This affidavit is submitted for the limited purpose of establishing probable cause to secure

     a criminal complaint. In submitting this affidavit, I have not included each and every fact

     known to me concerning this investigation. Where statements of others are set forth in this

     affidavit, they are set forth in substance and in part.




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                             STATEMENT OF PROBABLE CAUSE

5.       On August 17, 2018, members of the Massachusetts State Police (MSP) and the Norwell

         Police Department executed a search warrant at 1 Spring Brook Drive in Norwell,

         Massachusetts, the residence of Derek SHEEHAN. In the course of the execution of that

         warrant, investigators seized several electronic devices, which were transported off-site for

         forensic examination.

6.       In the course of the forensic examination of one of the devices – specifically, SHEEHAN’s

         cell phone – a trooper assigned to MSP’s Computer Crimes Unit observed photographs

         containing what he believed to be child pornography. Accordingly, Norwell Police

         obtained an additional search warrant from the Hingham District Court that authorized

         them to search the devices in their custody specifically for evidence of child pornography.

7.       In the course of the execution of that warrant, investigators have discovered video evidence

         of SHEEHAN’s sexual abuse of a minor child (MINOR VICTIM A) 1 while the child is

         apparently sleeping in SHEEHAN’s home. MINOR VICTIM A is known to SHEEHAN;

         he is a friend of SHEEHAN’s son and SHEEHAN had coached MINOR VICTIM A’s

         Norwell youth football team.

8.       Specifically, on a 3-terabyte Western Digital external drive, 2 investigators found hours of

         footage of SHEEHAN assaulting MINOR VICTIM A, which appear to correspond to three

         separate dates: March 16, 2017; March 19, 2017; and April 8, 2018.

9.       In summary, the videos include:



1
     MINOR VICTIM A is known to investigators; he was interviewed in the course of the
     investigation that led to SHEEHAN’s arrest on Barnstable District Court charges that include
     indecent assault and battery on a child under 14, in violation of M.G.L. c. 265, § 13B.
2
     The drive was manufactured in Thailand.

                                                  2
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        a.       In a series of clips that total approximately seven hours of video and which appear

                 to have been created on March 16, 2017, SHEEHAN is depicted



                            . 3 MINOR VICTIM A was 11 years old on this date. Throughout the

                 course of the footage, MINOR VICTIM A appears to be sleeping on a futon in

                 SHEEHAN’s home office. The video is apparently taken from a camera that is

                 positioned on the top of a metal shelving unit in SHEEHAN’s office. Photographs

                 of the shelving unit show that on the day of the search warrant, the unit was full of

                 miscellaneous items that would easily conceal a camera capable of taking such

                 video.

        b.       In a series of clips that total approximately 11 hours of video and which appear to

                 have been created on March 19, 2017, SHEEHAN is depicted



                            . 4 MINOR VICTIM A was 11 years old on this date. Throughout the

                 course of the footage, MINOR VICTIM A appears to be sleeping on a futon in

                 SHEEHAN’s home office. The video is apparently taken from a camera that is

                 positioned on the top of a metal shelving unit in SHEEHAN’s office. Photographs

                 of the shelving unit show that on the day of the search warrant, the unit was full of

                 miscellaneous items that would easily conceal a camera capable of taking such

                 video.




3
    Portions of these videos are available for the Court’s review.
4
    Portions of these videos are available for the Court’s review.

                                                   3
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        c.       In a series of clips that total approximately five hours of video and which appear to

                 have been created on April 8, 2018, SHEEHAN is depicted




                                                          . 5 Throughout the course of the footage,

                 MINOR VICTIM A appears to be sleeping on a futon in SHEEHAN’s home office

                 while SHEEHAN’s minor son sleeps nearby on another piece of furniture. At the

                 end of the footage, SHEEHAN can be seen facing MINOR VICTIM A, with his

                 back to the camera, moving his arm in a manner that appears to be consistent with

                 masturbation of his own penis. After approximately five minutes, SHEEHAN turns

                 to face the camera and can be seen using a sock to wipe off the end of his penis.

                 The video is apparently taken from a camera that is positioned on the top of a metal

                 shelving unit in SHEEHAN’s office. Photographs of the shelving unit show that

                 on the day of the search warrant, the unit was full of miscellaneous items that would

                 easily conceal a camera capable of taking such video.

10.     Based in part on the footage described above, SHEEHAN was charged by complaint in the

        Hingham District Court with several offenses, including three counts of aggravated rape of

        a child, in violation of M.G.L. c. 265, § 22A. I am aware that he is currently in the custody

        of the Plymouth County Sheriff. 6




5
    Portions of these videos are available for the Court’s review.
6
    SHEEHAN was previously charged in the Hingham District Court with one count of indecent
    assault and battery on a child under 14, in violation of M.G.L. c. 265, § 13B. That case does
    not involve MINOR VICTIM A.

                                                   4
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11.    Given the number of devices seized, the high storage capacity of many of the devices

       seized, and the fact that investigators have found some of the devices to be encrypted, the

       forensic analysis of the devices seized from SHEEHAN’s home remains ongoing.

                                          CONCLUSION

12.    Based upon the information set forth above, I submit that there is probable cause to believe

       that on or about March 16, 2017, March 19, 2017, and April 8, 2018, Derek SHEEHAN

       did employ, use, persuade, induce, entice, and coerce a minor to engage in sexually explicit

       conduct for the purpose of producing any visual depiction of such conduct, using materials

       that have been mailed, shipped, or transported in and affecting interstate and foreign

       commerce by any means, including by computer, and attempted to do so, all in violation

       of 18 U.S.C. §§ 2251(a) and (e).




                                             _____________________________
                                             LISA A. CRANDALL
                                             Special Agent, FBI



SWORN AND SUBSCRIBED TO BEFORE ME ON September 18, 2018.




___________________________________
Honorable M. Page Kelley
UNITED STATES MAGISTRATE JUDGE

I have portions of the video footage referenced in paragraph 9 above, and I find probable cause to
believe that the video footage depicts a minor engaged in sexually explicit conduct. The Affiant
shall preserve said videos for the duration of the pendency of this matter, including any relevant
appeal process.



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___________________________________
Honorable M. Page Kelley
UNITED STATES MAGISTRATE JUDGE




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